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                        UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF IDAHO



   In Re:                                           Case No. 10-01574-JDP


   John R Shull                                     Chapter 7
   Christina A Shull


                  Debtors.

            ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY


           Upon consideration of the record before this Court and the Motion for Relief from
   the Automatic Stay filed by Bank of America, N.A., as Trustee for Structured Asset
   Investment Loan Trust, Mortgage Pass-Through Certificates, Series 2003-BC10, and its
   servicing agent American Home Mortgage Servicing, Inc ("Movant"), Docket #29
   (“Motion”), with notice of the Motion having been given in accordance with the
   applicable Federal Rules of Bankruptcy Procedure and Local Bankruptcy Rules, and no
   objections having been raised, and good cause existing:
   IT IS HEREBY ORDERED:
   1. The Automatic Stay imposed by 11 U.S.C. § 362(a) is hereby terminated as to
       Movant and to the subject property whose legal description is included in the Deed of
       Trust submitted as an Exhibit to the Motion, and which is commonly described as:
           1707 Forrey Road, Kuna, ID 83634
   * 2.    The 14-day stay provided by Bankruptcy Rule 4001(a)(3) is waived.
                                           /end of text/

   Dated: September 17, 2010




   Honorable Jim D. Pappas
   United States Bankruptcy Judge
